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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 FLUET & ASSOCIATES, PLLC,              )
                                        )
          Plaintiff,                    )
                                        )
          v.                            )              Case No. 1:24-cv-00340
                                        )
 U.S. DEP’T OF TREASURY, ET AL.,        )
                                        )
          Defendants.                   )
 _______________________________________)

                                       STATUS REPORT

       Pursuant to the Court’s June 18, 2024 Order, Defendants U.S. Department of the Treasury

and Internal Revenue Service submit the following status report:

        On February 5, 2024, Plaintiff filed a Complaint against Defendants under the Freedom of

Information Act (“FOIA”) seeking records in response to FOIA requests sent to Defendants. (ECF

No. 1.) Defendants answered the Complaint on April 17, 2024. (ECF No. 8.) Since filing their

Answer, both Defendants have searched for records responsive to Plaintiff’s requests. The status

of those searches is as follows:

U.S. Department of the Treasury

        Pursuant to the Court’s order of June 18, 2024, Treasury reviewed 816 pages potentially

responsive to the request. Of those 816 pages, 410 pages were determined to be non-responsive,

and 406 pages were determined duplicates. The remaining 5 pages were responsive and Treasury

released them in part (with redactions).

Internal Revenue Service

       As part of its search for potentially responsive records, the Service proposed that Plaintiff

rescope several of the items in its FOIA requests. On June 16, 2024, Plaintiff accepted the



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Service’s rescoping proposals, and Defendants’ counsel informed the Service of the rescoped items

the same day. On July 16, 2024, Defendants sent Plaintiff a full summary of the Service’s

conclusions for each of the 25 items in Plaintiff’s FOIA requests. Once Plaintiff has informed

Defendants whether they wish to accept these conclusions, provide clarification, or propose

additional rescoping, the Service will be able to provide a more complete picture of the total

number of responsive records to be reviewed.

       In the meantime, the Service has been working with their primary custodians to upload and

image the records they have located thus far to their Relativity database. Currently, the Service

anticipates beginning its release of responsive, non-exempt records by early September.



Dated: July 17, 2024                             Respectfully submitted,

                                                   DAVID A. HUBBERT
                                                   Deputy Assistant Attorney General

                                                   By: /s/ Anna A. Miller
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                                                   Counsel for Defendants




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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of July, 2024, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system, which will send notice to all

registered to receive it.


                                             /s/ Anna A. Miller
                                             ANNA A. MILLER
                                             Trial Attorney
                                             United States Department of Justice, Tax Division




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